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                                                        United States District Court
                                                        Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.            SACR 20-8JVS

 Defendant           Frances Mares Racobs                                    Social Security No. 6         1   7   3
 akas:   Frances Mares Reyes                                                 (Last 4 digits)




                                                                                                                   MONTH    DAY     YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.         09    20       21

  COUNSEL                                                               Jason Hannan, DFPD
                                                                            (Name of Counsel)

    PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO               NOT
                                                                                                               CONTENDERE           GUILTY
  FINDING            There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                     Aiding and Assisting in the Preparation of a False Income Tax Return in violation of 26 USC Section 7206(2) as charged in
                     Count One of the Information

JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby placed on
  ORDER   PROBATION FOR A TERM OF 3 YEARS

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due
immediately.

It is ordered that the defendant shall pay restitution in the total amount of $558,264.79 pursuant to 18 U.S.C.
§ 3663(a).

The amount of restitution ordered shall be paid as follows:
      Victim                              Amount
      Internal Revenue Service            $558,264.79

The defendant shall make nominal monthly payments of at least 10% of defendant's gross income, but not less than
$50, whichever is greater, during the term of probation. Payments shall begin 30 days after the commencement
of probation. Nominal restitution payments are ordered as the Court finds that the defendant's economic
circumstances do not allow for either immediate or future payment of the amount ordered.

Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does
not have the ability to pay interest. Payments may be subject to penalties for default and delinquency pursuant to
18 U.S.C. § 3612(g).

The defendant shall comply with Second Amended General Order No. 20-04.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that
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she is unable to pay and is not likely to become able to pay any fine.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Frances Mares
Racobs, is hereby placed on probation on Count 1 of the Single-Count Information for a term of three (3) years
under the following terms and conditions:

         1. The defendant shall comply with the rules and regulations of the United States Probation & Pretrial
            Services Office and Second Amended General Order 20-04, including the conditions of probation and
            supervised release set forth in Section III of Second Amended General Order 20-04.

         2.   The defendant shall participate for a period of eight (8) months in a home detention program which may
              include electronic monitoring, GPS, Alcohol Monitoring Unit or automated identification system and
              shall observe all rules of such program, as directed by the Probation Officer. Defendant may travel on
              her upcoming church trip. Defendant may leave her house for work, religious commitments and doctor’s
              appointments.

         3.   The defendant shall pay the costs of Location Monitoring to the contract vendor, not to exceed the sum
              of $12.00 for each day of participation. The defendant shall provide payment and proof of payment as
              directed by the Probation Officer.

         4.   During the period of community supervision, the defendant shall pay the special assessment and
              restitution in accordance with this judgment's orders pertaining to such payment.

         5.   The defendant shall not be employed by, affiliated with, own or control, or otherwise participate,
              directly or indirectly, in any business involving the preparation of tax returns.

         6.   The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance,
              judgments and any other financial gains to the Court-ordered financial obligation.

         7. The defendant shall cooperate in the collection of a DNA sample from the defendant.

         The drug testing condition mandated by statute is suspended based on the Court's determination that the
         defendant poses a low risk of future substance abuse.

         Defendant is advised of her appeal rights. Bond is ordered EXONERATED.




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           In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation
           and Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend
           the period of supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue
           a warrant and revoke supervision for a violation occurring during the supervision period.



                       September 20,
                       2021
                       Date                                                      U. S. District Judge James V Selna

           It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified
           officer.

                                                                                 Clerk, U.S. District Court



                       9/20/21                                         By
                       Filed Date                                                Deputy Clerk



           The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                       STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                        While the defendant is on probation or supervised release pursuant to this judgment:
           1.     The defendant must not commit another federal, state, or             9.    The defendant must not knowingly associate with any persons
                  local crime;                                                               engaged in criminal activity and must not knowingly associate
           2.     The defendant must report to the probation office in the                   with any person convicted of a felony unless granted
                  federal judicial district of residence within 72 hours of                  permission to do so by the probation officer. This condition
                  imposition of a sentence of probation or release from                      will not apply to intimate family members, unless the court
                  imprisonment, unless otherwise directed by the probation                   has completed an individualized review and has determined
                  officer;                                                                   that the restriction is necessary for protection of the
           3.     The defendant must report to the probation office as                       community or rehabilitation;
                  instructed by the court or probation officer;                        10.   The defendant must refrain from excessive use of alcohol and
           4.     The defendant must not knowingly leave the judicial                        must not purchase, possess, use, distribute, or administer any
                  district without first receiving the permission of the court               narcotic or other controlled substance, or any paraphernalia
                  or probation officer;                                                      related to such substances, except as prescribed by a
           5.     The defendant must answer truthfully the inquiries of the                  physician;
                  probation officer, unless legitimately asserting his or her          11.   The defendant must notify the probation officer within 72
                  Fifth Amendment right against self-incrimination as to                     hours of being arrested or questioned by a law enforcement
                  new criminal conduct;                                                      officer;
           6.     The defendant must reside at a location approved by the              12.   For felony cases, the defendant must not possess a firearm,
                  probation officer and must notify the probation officer at                 ammunition, destructive device, or any other dangerous
                  least 10 days before any anticipated change or within 72                   weapon;
                  hours of an unanticipated change in residence or persons             13.   The defendant must not act or enter into any agreement with
                  living in defendant’s residence;                                           a law enforcement agency to act as an informant or source
           7.     The defendant must permit the probation officer to                         without the permission of the court;
                  contact him or her at any time at home or elsewhere and              14.   The defendant must follow the instructions of the probation
                  must permit confiscation of any contraband prohibited by                   officer to implement the orders of the court, afford adequate
                  law or the terms of supervision and observed in plain                      deterrence from criminal conduct, protect the public from
                  view by the probation officer;                                             further crimes of the defendant; and provide the defendant
           8.     The defendant must work at a lawful occupation unless                      with needed educational or vocational training, medical care,
                  excused by the probation officer for schooling, training,                  or other correctional treatment in the most effective manner.
                  or other acceptable reasons and must notify the probation
                  officer at least ten days before any change in
                  employment or within 72 hours of an unanticipated
                  change;




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             The defendant must also comply with the following special conditions (set forth below).

             STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

                     The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the
           fine or restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1).
           Payments may be subject to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to
           restitution, however, are not applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and
           costs must be paid by certified check or money order made payable to “Clerk, U.S. District Court.” Each certified check or money
           order must include the case name and number. Payments must be delivered to:

                     United States District Court, Central District of California
                     Attn: Fiscal Department
                     255 East Temple Street, Room 1178
                     Los Angeles, CA 90012

           or such other address as the Court may in future direct.

                    If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must
           pay the balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

                    The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing
           address or residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

                     The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change
           in the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18
           U.S.C. § 3664(k). The Court may also accept such notification from the government or the victim, and may, on its own motion or
           that of a party or the victim, adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. §
           3572(d)(3) and for probation 18 U.S.C. § 3563(a)(7).

                     Payments will be applied in the following order:

                              1. Special assessments under 18 U.S.C. § 3013;
                              2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                                States is paid):
                                        Non-federal victims (individual and corporate),
                                        Providers of compensation to non-federal victims,
                                        The United States as victim;
                              3. Fine;
                              4. Community restitution, under 18 U.S.C. § 3663(c); and
                              5. Other penalties and costs.

                 CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

                     As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing
           credit report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate
           financial statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the
           defendant must not apply for any loan or open any line of credit without prior approval of the Probation Officer.

                     When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to
           the Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including
           any business or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the
           Probation Office in advance of opening a new account or modifying or closing an existing one, including adding or deleting
           signatories; changing the account number or name, address, or other identifying information affiliated with the account; or any
           other modification. If the Probation Office approves the new account, modification or closing, the defendant must give the
           Probation Officer all related account records within 10 days of opening, modifying or closing the account. The defendant must not
           direct or ask anyone else to open or maintain any account on the defendant’s behalf.

                    The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500
           without approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                     These conditions are in addition to any other conditions imposed by this judgment.



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                                                                             RETURN

            I have executed the within Judgment and Commitment as follows:
            Defendant delivered on                                                             to
            Defendant noted on appeal on
            Defendant released on
            Mandate issued on
            Defendant’s appeal
            determined on
            Defendant delivered on                                                             to
      at
                 the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                                United States Marshal


                                                                 By
                       Date                                                     Deputy Marshal



                                                                        CERTIFICATE

            I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office,
            and in my legal custody.

                                                                                Clerk, U.S. District Court


                                                                 By
                       Filed Date                                               Deputy Clerk




                                                       FOR U.S. PROBATION OFFICE USE ONLY


           Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the
           term of supervision, and/or (3) modify the conditions of supervision.

                     These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


                     (Signed)
                                Defendant                                                      Date



                                U. S. Probation Officer/Designated Witness                     Date




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